                                          Case: 22-10541                       Doc: 1           Filed: 03/25/22       Page: 1 of 36

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                 Western District of Oklahoma


 Case number (if known):                                            Chapter        11                                                        ❑Check if this is an
                                                                                                                                                amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                               04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For more
information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



   1. Debtor's name                               Rentzel Pump Manufacturing, LP



   2. All other names debtor used                 RPM
      in the last 8 years

      Include any assumed names,
      trade names, and doing
      business
      as names



   3. Debtor's federal Employer                   2      0 – 0     3       3   1   9    6   0
      Identification Number (EIN)



   4. Debtor's address                            Principal place of business                                      Mailing address, if different from principal place of
                                                                                                                   business

                                                   1301 N. Globe Ave.
                                                  Number            Street                                         Number         Street

                                                                                                                    PO Box 721927
                                                                                                                   P.O. Box
                                                   Lubbock, TX 74908
                                                  City                                      State    ZIP Code        Norman, OK 73070
                                                                                                                   City                                State     ZIP Code

                                                                                                                   Location of principal assets, if different from principal
                                                  County                                                           place of business

                                                                                                                    1301 North Globe Ave
                                                                                                                   Number         Street




                                                                                                                    Lubbock, TX 74908
                                                                                                                   City                                State     ZIP Code




   5. Debtor's website (URL)                      https://www.rentzelpump.com/



   6. Type of debtor                              ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ✔
                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 1
                                        Case: 22-10541                Doc: 1           Filed: 03/25/22              Page: 2 of 36

Debtor      Rentzel Pump Manufacturing, LP                                                                          Case number (if known)
           Name
                                                A. Check one:
   7. Describe debtor's business
                                                ❑Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    3     3   3    2

   8. Under which chapter of the                Check one:
      Bankruptcy Code is the                    ❑    Chapter 7
      debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ✔
                                                ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V of           ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     chapter 11 (whether or not the debtor is                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than $2,725,625. If
     a “small business debtor”) must check                   this sub-box is selected, attach the most recent balance sheet, statement of operations, cash-flow
     the second sub-box                                      statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
                                                             11 U.S.C. § 1116(1)(B).
                                                       ✔
                                                       ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                             (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                             under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return, or if any of these documents
                                                             do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑     A plan is being filed with this petition.

                                                       ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in accordance
                                                             with 11 U.S.C. § 1126(b).
                                                       ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                             Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                             Form 201A) with this form.
                                                       ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

   9. Were prior bankruptcy cases filed by      ✔ No
                                                ❑
      or against the debtor within the last 8
      years?
                                                ❑Yes. District                                           When                    Case number
                                                                                                                MM / DD / YYYY
     If more than 2 cases, attach a separate               District                                      When                     Case number
     list.                                                                                                       MM / DD / YYYY


  10. Are any bankruptcy cases pending or       ✔ No
                                                ❑
      being filed by a business partner or
      an affiliate of the debtor?               ❑Yes. Debtor                                                                     Relationship

                                                           District                                                               When
     List all cases. If more than 1, attach a
                                                                                                                                                MM / DD / YYYY
     separate list.
                                                           Case number, if known




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                          page 2
                                      Case: 22-10541               Doc: 1             Filed: 03/25/22              Page: 3 of 36

Debtor      Rentzel Pump Manufacturing, LP                                                                         Case number (if known)
           Name


  11. Why is the case filed in this      Check all that apply:
      district?
                                         ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         ❑
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         ❑A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have        ✔ No
                                         ❑
      possession of any real property
      or personal property that needs
                                         ❑Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                    ❑    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?


                                                    ❑    It needs to be physically secured or protected from the weather.
                                                    ❑    It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for
                                                         example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                    ❑    Other
                                                    Where is the property?
                                                                               Number          Street




                                                                               City                                            State      ZIP Code
                                                    Is the property insured?
                                                    ❑No
                                                    ❑Yes.        Insurance agency
                                                                 Contact name
                                                                 Phone

         Statistical and administrative information

      13. Debtor’s estimation of         Check one:
          available funds?               ❑Funds will be available for distribution to unsecured creditors.
                                         ✔After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                         ❑
      14. Estimated number of            ✔ 1-49 ❑ 50-99
                                         ❑                                    ❑ 1,000-5,000 ❑ 5,001-10,000                ❑ 25,001-50,000 ❑ 50,000-100,000
          creditors                      ❑ 100-199 ❑ 200-999                  ❑ 10,001-25,000                             ❑ More than 100,000

      15. Estimated assets                ❑    $0-$50,000                         ❑     $1,000,001-$10 million                   ❑     $500,000,001-$1 billion
                                          ❑    $50,001-$100,000                   ❑     $10,000,001-$50 million                  ❑     $1,000,000,001-$10 billion
                                          ✔
                                          ❑    $100,001-$500,000                  ❑     $50,000,001-$100 million                 ❑     $10,000,000,001-$50 billion
                                          ❑    $500,001-$1 million                ❑     $100,000,001-$500 million                ❑     More than $50 billion




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                                     Case: 22-10541                  Doc: 1            Filed: 03/25/22                Page: 4 of 36

Debtor      Rentzel Pump Manufacturing, LP                                                                            Case number (if known)
           Name




                                            ❑    $0-$50,000                            ✔
                                                                                       ❑   $1,000,001-$10 million                     ❑   $500,000,001-$1 billion
      16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                    ❑   $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                   ❑   $10,000,000,001-$50 billion
                                            ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million                  ❑   More than $50 billion



         Request for Relief, Declaration, and Signatures


 WARNING --         Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
                    for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


      17. Declaration and signature of               The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
          authorized representative of
          debtor                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true and
                                                     correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     03/25/2022
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Randall Rentzel                                                    Printed name
                                                                                                                                              Randall Rentzel
                                                    Signature of authorized representative of debtor


                                                    Title                        President



      18. Signature of attorney
                                                ✘                       /s/ Gary D Hammond                               Date 03/25/2022
                                                                                                                                  MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     Gary D Hammond
                                                    Printed name

                                                     Mitchell & Hammond
                                                    Firm name

                                                     512 N.W. 12th Street
                                                    Number          Street


                                                     Oklahoma City                                                           OK               73103
                                                    City                                                                     State            ZIP Code



                                                     (405) 216-0007                                                           gary@okatty.com
                                                    Contact phone                                                             Email address



                                                     13825                                                                    OK
                                                    Bar number                                                                State




Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 4
                           Case: 22-10541        Doc: 1      Filed: 03/25/22          Page: 5 of 36
                                       UNITED STATES BANKRUPTCY COURT
                                        WESTERN DISTRICT OF OKLAHOMA
                                            OKLAHOMA CITY DIVISION

IN RE:                                                                                CHAPTER   11
Rentzel Pump Manufacturing, LP

DEBTOR(S)                                                                             CASE NO


                                        LIST OF EQUITY SECURITY HOLDERS

Registered Name of Holder of Security               Class of Security           Number                Kind of Interest
Last Known Address or Place of                                                  Registered            Registered
Business
Randall Rentzel                                                                 99                    Limited Partnership
4608 Flint Ridge Drive
Norman, OK 73072

Rentzel Energy Equipment Co., Inc.                                              1                     General Partnership
1114 N. Avenue T
Lubbock, TX 79415


                                    DECLARATION UNDER PENALTY OF PERJURY
                                  ON BEHALF OF A CORPORATION OR PARTNERSHIP

  I, the                       President                    of the                        Partnership
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true
and correct to the best of my information and belief.



Date: 03/25/2022                                     Signature: /s/ Randall Rentzel
                                                                Randall Rentzel, President
                            Case: 22-10541         Doc: 1     Filed: 03/25/22       Page: 6 of 36
                           IN THE UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF OKLAHOMA
                                    OKLAHOMA CITY DIVISION
      IN RE: Rentzel Pump                                                 CASE NO
             Manufacturing, LP
                                                                          CHAPTER 11



                             DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                                  PETITION, LISTS, STATEMENTS, AND SCHEDULES


PART I: DECLARATION OF PETITIONER:
As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or
limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in
accordance with the chapter of title 11, United States Code, specified in the petition to be filed electronically in this
case. I have read the information provided in the petition, lists, statements, and schedules to be filed electronically in
this case and I HEREBY DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as the
social security information disclosed in this document, is true and correct. I understand that this Declaration is to be filed
 with the Bankruptcy Court within five (5) business days after the petition, lists, statements, and schedules have been
filed electronically. I understand that a failure to file the signed original of this Declaration will result in the dismissal of
my case.

❑        [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
         I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I am
         aware that I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
         available under each chapter, and choose to proceed under chapter 7.
✔
❑        [Only include if petitioner is a corporation, partnership or limited liability company] --
         I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists,
         statements, and schedules on behalf of the debtor in this case.

Date 03/25/2022                      /s/ Randall Rentzel
                           Randall Rentzel
                           President
                           EIN No. 1 9 6 0




PART II: DECLARATION OF ATTORNEY:
I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part I
herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual
 with primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States
Code, and have explained the relief available under each such chapter.

Date 03/25/2022                     /s/ Gary D Hammond
                           Gary D Hammond
                           Attorney
                Case: 22-10541       Doc: 1      Filed: 03/25/22   Page: 7 of 36


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                                              Client Copy

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3UHSDUHGE\    Heather Fry
                Tax Filings LLC
                7220 E 41st Street
                Tulsa, OK 74145
                918-965-0099


'DWH           September 8, 2021
&RPPHQWV




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Case: 22-10541     Doc: 1   Filed: 03/25/22   Page: 8 of 36




                 2020 Partnership Return
                       prepared for:
           Rentzel Pump Manufacturing, LP




                    Tax Filings LLC
                    7220 E 41st Street
                     Tulsa, OK 74145
                      Case: 22-10541   Doc: 1     Filed: 03/25/22    Page: 9 of 36

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     E 'LGDQ\LQGLYLGXDORUHVWDWHRZQGLUHFWO\RULQGLUHFWO\DQLQWHUHVWRIRUPRUHLQWKHSURILWORVVRUFDSLWDORIWKH
       SDUWQHUVKLS")RUUXOHVRIFRQVWUXFWLYHRZQHUVKLSVHHLQVWUXFWLRQV,I<HVDWWDFK6FKHGXOH%,QIRUPDWLRQRQ3DUWQHUV
       2ZQLQJRU0RUHRIWKH3DUWQHUVKLS                        ;
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       WRYRWHRIDQ\IRUHLJQRUGRPHVWLFFRUSRUDWLRQ")RUUXOHVRIFRQVWUXFWLYHRZQHUVKLSVHHLQVWUXFWLRQV,I<HVFRPSOHWH L
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                                            L 1DPHRI&RUSRUDWLRQ                                                                      LL (PSOR\HU                            LLL &RXQWU\RI                        LY 3HUFHQWDJH
                                                                                                                                       ,GHQWLILFDWLRQ                           ,QFRUSRUDWLRQ                             2ZQHGLQ
                                                                                                                                      1XPEHU LIDQ\                                                                    9RWLQJ6WRFN




      E 2ZQGLUHFWO\DQLQWHUHVWRIRUPRUHRURZQGLUHFWO\RULQGLUHFWO\DQLQWHUHVWRIRUPRUHLQWKHSURILWORVVRUFDSLWDO
        LQDQ\IRUHLJQRUGRPHVWLFSDUWQHUVKLS LQFOXGLQJDQHQWLW\WUHDWHGDVDSDUWQHUVKLS RULQWKHEHQHILFLDOLQWHUHVWRIDWUXVW")RU
        UXOHVRIFRQVWUXFWLYHRZQHUVKLSVHHLQVWUXFWLRQV,I<HVFRPSOHWH L WKURXJK Y EHORZ                                                                ;
                                            L 1DPHRI(QWLW\                                                                 LL (PSOR\HU                          LLL 7\SHRI               LY &RXQWU\RI              Y 0D[LPXP
                                                                                                                             ,GHQWLILFDWLRQ                            (QWLW\                  2UJDQL]DWLRQ                3HUFHQWDJH
                                                                                                                            1XPEHU LIDQ\                                                                               2ZQHGLQ3URILW
                                                                                                                                                                                                                         /RVVRU&DSLWDO




        'RHVWKHSDUWQHUVKLSVDWLVI\DOOIRXURIWKHIROORZLQJFRQGLWLRQV"                                                                                                                                                         <HV   1R
      D 7KHSDUWQHUVKLS VWRWDOUHFHLSWVIRUWKHWD[\HDUZHUHOHVVWKDQ
      E 7KHSDUWQHUVKLS VWRWDODVVHWVDWWKHHQGRIWKHWD[\HDUZHUHOHVVWKDQPLOOLRQ
      F 6FKHGXOHV.DUHILOHGZLWKWKHUHWXUQDQGIXUQLVKHGWRWKHSDUWQHUVRQRUEHIRUHWKHGXHGDWH LQFOXGLQJH[WHQVLRQV
        IRUWKHSDUWQHUVKLSUHWXUQ
      G 7KHSDUWQHUVKLSLVQRWILOLQJDQGLVQRWUHTXLUHGWRILOH6FKHGXOH0                                                 ;
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        LWHP/RQ6FKHGXOH.
        ,VWKLVSDUWQHUVKLSDSXEOLFO\WUDGHGSDUWQHUVKLSDVGHILQHGLQVHFWLRQ N  "                                                         ;
        'XULQJWKHWD[\HDUGLGWKHSDUWQHUVKLSKDYHDQ\GHEWWKDWZDVFDQFHOHGZDVIRUJLYHQRUKDGWKHWHUPVPRGLILHGVRDVWR
         UHGXFHWKHSULQFLSDODPRXQWRIWKHGHEW"                            ;
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         DILQDQFLDODFFRXQWLQDIRUHLJQFRXQWU\ VXFKDVDEDQNDFFRXQWVHFXULWLHVDFFRXQWRURWKHUILQDQFLDODFFRXQW "6HH
         LQVWUXFWLRQVIRUH[FHSWLRQVDQGILOLQJUHTXLUHPHQWVIRU)LQ&(1)RUP5HSRUWRI)RUHLJQ%DQNDQG)LQDQFLDO
         $FFRXQWV )%$5 ,I<HVHQWHUWKHQDPHRIWKHIRUHLJQFRXQWU\ *                                                                                                                                                               ;
        $WDQ\WLPHGXULQJWKHWD[\HDUGLGWKHSDUWQHUVKLSUHFHLYHDGLVWULEXWLRQIURPRUZDVLWWKHJUDQWRURIRUWUDQVIHURUWRD
         IRUHLJQWUXVW",I<HVWKHSDUWQHUVKLSPD\KDYHWRILOH)RUP$QQXDO5HWXUQ7R5HSRUW7UDQVDFWLRQV:LWK)RUHLJQ
         7UXVWVDQG5HFHLSWRI&HUWDLQ)RUHLJQ*LIWV6HHLQVWUXFWLRQV                                           ;
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      6HHLQVWUXFWLRQVIRUGHWDLOVUHJDUGLQJDVHFWLRQHOHFWLRQ
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                                               Case: 22-10541                                  Doc: 1                  Filed: 03/25/22                              Page: 19 of 36

)RUP                  5HQW]HO3XPS0DQXIDFWXULQJ/3                                                                                                                                                                   3DJH
 6FKHGXOH%                     2WKHU,QIRUPDWLRQ(continued)
                                                                                                                                                                                                                                         <HV   1R
      F ,VWKHSDUWQHUVKLSUHTXLUHGWRDGMXVWWKHEDVLVRISDUWQHUVKLSDVVHWVXQGHUVHFWLRQ E RU E EHFDXVHRIDVXEVWDQWLDO
        EXLOWLQORVV DVGHILQHGXQGHUVHFWLRQ G RUVXEVWDQWLDOEDVLVUHGXFWLRQ DVGHILQHGXQGHUVHFWLRQ G ",I<HVDWWDFK
        DVWDWHPHQWVKRZLQJWKHFRPSXWDWLRQDQGDOORFDWLRQRIWKHEDVLVDGMXVWPHQW6HHLQVWUXFWLRQV                                                                                                                                           ;
      &KHFNWKLVER[LIGXULQJWKHFXUUHQWRUSULRUWD[\HDUWKHSDUWQHUVKLSGLVWULEXWHGDQ\SURSHUW\UHFHLYHGLQDOLNHNLQG
        H[FKDQJHRUFRQWULEXWHGVXFKSURSHUW\WRDQRWKHUHQWLW\ RWKHUWKDQGLVUHJDUGHGHQWLWLHVZKROO\RZQHGE\WKH
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        (QWLWLHV )'(V DQG)RUHLJQ%UDQFKHV )%V HQWHUWKHQXPEHURI)RUPVDWWDFKHG
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      'RHVWKHSDUWQHUVKLSKDYHDQ\IRUHLJQSDUWQHUV",I<HVHQWHUWKHQXPEHURI)RUPV)RUHLJQ3DUWQHU V,QIRUPDWLRQ
        6WDWHPHQWRI6HFWLRQ:LWKKROGLQJ7D[ILOHGIRUWKLVSDUWQHUVKLS *                                                                                                                                                               ;
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        XQGHUFKDSWHU VHFWLRQVWKURXJK RUFKDSWHU VHFWLRQVWKURXJK "                                                                          ;
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   E 7KHSDUWQHUVKLS VDJJUHJDWHDYHUDJHDQQXDOJURVVUHFHLSWV GHWHUPLQHGXQGHUVHFWLRQ F IRUWKHWD[\HDUV
      SUHFHGLQJWKHFXUUHQWWD[\HDUDUHPRUHWKDQPLOOLRQDQGWKHSDUWQHUVKLSKDVEXVLQHVVLQWHUHVW
   F 7KHSDUWQHUVKLSLVDWD[VKHOWHU VHHLQVWUXFWLRQV DQGWKHSDUWQHUVKLSKDVEXVLQHVVLQWHUHVWH[SHQVH
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(QWHUEHORZWKHLQIRUPDWLRQIRUWKHSDUWQHUVKLSUHSUHVHQWDWLYH 35 IRUWKHWD[\HDUFRYHUHGE\WKLVUHWXUQ
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,IWKH35LVDQHQWLW\QDPHRIWKHGHVLJQDWHGLQGLYLGXDOIRUWKH35                       *
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        RI\RXUSDUWQHUVKLSDQGZDVWKHRZQHUVKLSSHUFHQWDJH E\YRWHRUYDOXH IRUSXUSRVHVRIVHFWLRQJUHDWHUWKDQ IRUH[DPSOHWKHSDUWQ
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        3HUFHQWDJH                                                                                              %\9RWH                                                         %\9DOXH                                                      ;
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                                              Case: 22-10541                                 Doc: 1                   Filed: 03/25/22                                Page: 20 of 36

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         1RUPDQ2.                                                                                    F 7RWDOJXDUDQWHHGSD\PHQWV
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        5DQGDOO05HQW]HO                                                                                                                                $                        
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  0 'LGWKHSDUWQHUFRQWULEXWHSURSHUW\ZLWKDEXLOWLQJDLQRUORVV"
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Partner 1                                                                                                                                                                      373$/
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                                                                              5HQW]HO3XPS
                                                                              0DQXIDFWXULQJ/3
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                                 RISURSHUW\                                 PRGD\\U            PRGD\\U               VDOHVSULFH               DOORZDEOHVLQFH            LPSURYHPHQWVDQG           6XEWUDFW I IURPWKH
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                           Case: 22-10541                  Doc: 1          Filed: 03/25/22               Page: 34 of 36

                                                    IN THE UNITED STATES BANKRUPTCY COURT
                                                         WESTERN DISTRICT OF OKLAHOMA
                                                             OKLAHOMA CITY DIVISION

IN RE: Rentzel Pump Manufacturing, LP                                                       CASE NO

                                                                                            CHAPTER 11




                                                     VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      03/25/2022              Signature                                   /s/ Randall Rentzel
                                                                             Randall Rentzel, President
Case: 22-10541   Doc: 1     Filed: 03/25/22      Page: 35 of 36


                  Aubrey Thrasher, LLC
                  1170 Peachtree St. Ste. 1925
                  Atlanta, GA 30309




                  BancFirst
                  Shawnee
                  1939 Harrison St.
                  Shawnee, OK 74801



                  Crowe & Dunlevy
                  324 N. Robinson Ave.
                  Oklahoma City, OK 73102




                  First United Bank & Trust
                  Spend Life Wisely Co
                  1400 W. Main St.
                  Durant, OK 74701



                  Mee, Mee, Hoge & Epperson
                  Attn: John W. Mee III
                  1900 NW Expy Ste. 1400
                  Etna, WY 73118



                  Mitchell & Hammond
                  Mitchell & Hammond
                  512 N.W. 12th Street
                  Oklahoma City, OK 73103



                  Oklahoma State Bank
                  OSB Norman
                  2122 W. Main St.
                  Norman, OK 73072



                  On Deck Capital
                  Attn: Bankruptcy
                  1400 Broadway 25th Floor
                  New York, NY 10018-5225
Case: 22-10541   Doc: 1     Filed: 03/25/22      Page: 36 of 36


                  Phillips Murrah, PC
                  Corporate Tower, 13th Floor
                  101 N. Robinson
                  Oklahoma City, OK 73102



                  Rentzel Properties, LLC
                  4608 Flintridge Drive
                  Norman, OK 73072




                  Rentzel Pump Manufacturing,
                  LP
                  PO Box 721927
                  Norman, OK 73070



                  SBA
                  Little Rock CLSC
                  2120 Riverfront Dr. Ste. 100
                  Detroit, MI 72202



                  Wells Fargo Bank NA
                  Attn: SBA
                  1 Home Campus MAC X2303-01A 3rd
                  Floor
                  Des Moines, IA 50328
